Case 2:03-cr-20447-.]PI\/| Document 76 Filed 06/22/05 Page 1 of 2 Page|D 115

IN THE UNITED sTATEs DISTRICT coURT r~'u£o ev __ D_c_
FoR THE WEsTERN DIsTRICT oF TENNESSEE
WEsTERN DIVISION 05 JUN 22 H 3.» | g

HOBERT R. DI TROL!O
CLEHK, U.S. D£ST. CT.

UNITED STATES OF AMERICA, ) WD_ Oj= m MEMPHIS
)
Plaintiff, ) Criminal No. 03-20447-Ml
vs. )
)
ASHLEY MARTIN, )
)
Defendant. )

 

ORDER OF DISMISSAL

 

Before the court is the govermnent’s motion to dismiss Without prejudice the indictment
in this matter. For good cause shown, the motion is granted The indictment, No. 03-20447,
returned against Ashley Martin on November 25, 2003 is dismissed Without prejudice

Entered this QQ day ofJune, 2005.

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»P
O/rED STATES DISTRICT IUDGE

 

Date: C¢ 21 05

Approved by: w MJ

Spedidl Assistant U. S. Attorney

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with Hu|e 55 and/or 32(b) FHCrp nn

DISTRICT COURT - WESRTE DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 76 in
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Honorable J on McCalla
US DISTRICT COURT

